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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF WISCONSIN


ELIZABETH A. ERICKSON,

             Plaintiff,


      v.                                      Case No. 15-CV-320

STATE OF WISCONSIN, MICHAEL
GRECO, in his Official Capacity,
STEVE LAESCH, in his Official Capacity,
JOHN HAUGH, in his Official Capacity, and
PATRICIA NOLAND, in her Official
Capacity,

             Defendants.


                          DEFENDANTS’ MOTION TO DISMISS


      Defendants State of Wisconsin, and Michael Greco, Steve Laesch, John

Haugh, and Patricia Noland, in their official capacities, hereby move this court

pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure for an order

dismissing Plaintiff Elizabeth A. Erickson’s Complaint for failure to state a claim.

The grounds for this motion are explained in the supporting brief, filed separately.
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      Dated this 3rd day of August 2015.

                                     Respectfully submitted,

                                     BRAD D. SCHIMEL
                                     Attorney General

                                     s/Steven C. Kilpatrick
                                     STEVEN C. KILPATRICK
                                     Assistant Attorney General
                                     State Bar #1025452

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